             Case 3:21-cv-05851-JHC Document 15 Filed 10/06/22 Page 1 of 2



 1                                                                         Honorable John H. Chun
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 6                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON AT TACOMA
 7

 8 KYRSTIN G. KONO and CHRISTOPHER
   KONO, husband and wife, individually and on         No. 3:21-cv-05851-JHC
 9
   behalf of the marital community,
10                                    Plaintiffs,      ORDER GRANTING STIPULATED
                          vs.                          MOTION FOR EXTENSION OF EXPERT-
11                                                     RELATED DEADLINES
12 K.K.W. Trucking, Inc.; a foreign corporation;
   and GERALD MASSEY, an individual,
13
                                      Defendants.
14

15         This matter having come before the Court on the Parties’ Stipulated Motion to Extend

16 Expert-Related deadlines. The motion of the parties is hereby GRANTED, and the deadlines

17 are as follows:

18
                     Expert Disclosures Due               November 3, 2022
19                   Rebuttal Expert Disclosures Due      December 5, 2022
                     Discovery Completed by               December 12, 2022
20

21          It is so ORDERED.
22
           DATED this 6th day of October, 2022
23


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                                                ______________________________
25                                              HONORABLE JOHN H. CHUN
26                                              United States District Judge


     ORDER GRANTING EXTENSION OF                                CONNELLY LAW OFFICES, PLLC
     EXPERT-RELATED DEADLINES                                               2301 North 30th Street
                                                                             Tacoma, WA 98403
     (Cause No. 3:21-cv-05851-JHC) – 1
                                                                    (253) 593-5100 Phone - (253) 593-0380 Fax
             Case 3:21-cv-05851-JHC Document 15 Filed 10/06/22 Page 2 of 2



 1 Presented by:

 2
   _/s Jackson Pahlke______________________
 3  Jackson Pahlke, 52812
   CONNELLY LAW OFFICES
 4 2301 North 30th Street
   Tacoma, WA 98403
 5 Attorney for Plaintiff

 6

 7 Approved:

 8         /s Dylan E. Jackson _
   Dylan E. Jackson, WSBA No. 29220
 9 Jeff M. Sbaih, WSBA No. 51551

10 WILSON SMITH COCHRAN DICKERSON
   1000 Second Avenue, Suite 2050
11 Seattle, WA 98104-3629
   Attorneys for Defendants
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     ORDER GRANTING EXTENSION OF                     CONNELLY LAW OFFICES, PLLC
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